      Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 1 of 20FILED
                                                              ____           ___ ENTERED
                                                                  ____ LOGGED _____ RECEIVED

                                                                  1:37 pm, Apr 30 2021
                                                                  AT BALTIMORE
                  IN THE UNITED STATES DISTRICT COURT             CLERK, U.S. DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND                 DISTRICT OF MARYLAND
                                                                  BY ______________Deputy

IN THE MATTER OF THE SEIZURE OF THE
FOLLOWING PROPERTIES:

All monies up to $5,736.00 in M&T BANK
ACCOUNT NUMBER 17873970, held in the name
of Arthur Beckley;

All monies up to $7,038.00 in M&T BANK
ACCOUNT NUMBER 201649056, held in the
name of Carl Robinson;

All monies up to $14,778.00. in M&T BANK
ACCOUNT NUMBER 9876275380, held in the
name of Laurent Kala;

All monies up to $9,120.00 in M&T BANK
ACCOUNT NUMBER 9880125399, held in the
name of Edgar Mende Encarnacion;

All monies up to $5,520.00 in M&T BANK
ACCOUNT NUMBER 9881673983, held in the       Case No.   1:21-mj-1123 TMD
name of Moises Mejia;

All monies up to $5,878.00 in M&T BANK
ACCOUNT NUMBER 9881917737, held in the
name of Javier Alvarez Donis;

All monies up to $2,469.00 in M&T BANK
ACCOUNT NUMBER 9879730696, held in the
name of Emanuel Ngam;

All monies up to $4,949.00 in M&T BANK
ACCOUNT NUMBER 9880198271, held in the
name of Kathy Pitman;

All monies up to $227.00 in M&T BANK
ACCOUNT NUMBER 1500424410265, held in the
name of Bruce Banks;

All monies up to $1,298.00 in M&T BANK
ACCOUNT NUMBER 9881538087, held in the
name of Michael Hansford;


                                         1
         Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 2 of 20

                                                                                   1:21-mj-1123 TMD




 All monies up to $28,184.00 in M&T BANK
 ACCOUNT NUMBER 9882911408, held in the
 name of Theo Bishop;

 All monies up to $1,152.00 in M&T BANK
 ACCOUNT NUMBER 9874390744, held in the
 name of Kevin Moore;

 All monies up to $3,288.00 in M&T BANK
 ACCOUT NUMBER 9883008329, held in the
 name of Joseph B McGinley Jr.;

 All monies up to $2,217.00 in M&T BANK
 ACCOUNT NUMBER 9883810765, held in the
 name of Nakyeya Austin;

 All monies up to $5,560.00 in M&T BANK
 ACCOUNT NUMBER 9864428405, held in the
 name of Mary Bedessum;

 All monies up to $18,640.00 in M&T BANK
 ACCOUNT NUMBER 9878710012, held in the
 name of Shakeem C Coburn;

 All monies up to $5,984.00 in M&T BANK
 ACCOUNT NUMBER 9878838672, held in the
 name of Malcom C Taylor Jr.;

 All monies up to $2,133.00 in M&T BANK
 ACCOUNT NUMBER 9878958686, held in the
 name of David Whiters; and

 All monies up to $8,928.00 in M&T BANK
 ACCOUNT NUMBER 9880553152, held in the
 name of Michael Willoughby.




                    AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

       I, Aljuan Carter, a Special Agent with the United States Secret Service, being duly sworn,

depose and state:



                                               2
            Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 3 of 20

                                                                                        1:21-mj-1123 TMD


                                   AGENT’S BACKGROUND

       1.       I am a duly appointed Special Agent with the United States Secret Service

(“USSS”) and have been employed as such since May 2010. Through my employment with the

USSS and training, I have gained knowledge in the use of various investigative techniques

including the utilization of physical surveillance, undercover agents, confidential informants and

cooperating witnesses, consensually monitored recordings, investigative interviews, financial

investigations, the service of administrative and grand jury subpoenas, mobile wireless tracking

methods, analyzing telephone pen register and caller identification system data, and the execution

of search and arrest warrants, including those executed upon physical addresses as well as those

executed upon electronic equipment and data storage providers.

       2.       Throughout my career in law enforcement and training, I have become familiar

with the methods and techniques associated with financial institution fraud and counterfeit trends

and tactics. In the course of my training and conducting financial investigations, I have

incorporated the use of the following investigative techniques: interviewing informants,

cooperating witnesses, victims, and subjects; physical surveillance and utilization of various

surveillance techniques; supporting undercover operations; participating in mobile wireless

tracking missions; and preparing and executing search and arrest warrants that have led to seizures

of counterfeit currency, access devices, and other instruments used to commit financial fraud.

       3.       Based on my knowledge, training, and experience in the investigation of financial

institution fraud, I am familiar with the ways in which fraudsters conduct their business. My

familiarity includes the various means and methods by which individuals defraud financial

institutions; their use of cellular telephones and social media accounts to facilitate fraud; and their

use of code words to describe fraud. I am familiar with the ways that those who commit financial



                                                  3
            Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 4 of 20

                                                                                       1:21-mj-1123 TMD


institution fraud are able to carry out their fraud without detection. Financial institution fraud is

commonly an ongoing and recurring criminal activity. As contrasted with crimes against persons,

which tend to be discrete offenses, crimes such as bank fraud and wire fraud are illicit commercial

activities that are characterized by regular, repeated criminal activity.

       4.       The information set forth below is based upon my review of records and upon

information provided by other sworn law enforcement officers participating in this investigation.

I have not included each and every fact obtained pursuant to this investigation, but have set forth

those facts that I believe are essential to establish the necessary foundation for the issuance of the

seizure warrant for the aforementioned funds.

                                PURPOSE OF THE AFFIDAVIT

       5.       I submit this affidavit in support of the application made by the United States of

America for seizure warrants authorizing the seizure of the funds held by M&T Bank (“M&T”) in

the accounts listed in Attachment A to this affidavit, up to the amount identified in the second

column (“Total Deposit of UI Benefits”) of Attachment A.

       6.       The accounts listed in Attachment A have all been identified by M&T as having

fraudulently received Unemployment Insurance (UI) payments via ACH or wire transfer. Each of

these accounts has a Maryland address listed for the account holder. Accordingly, as explained in

more detail below, the funds held in the Accounts listed in Attachment A contain proceeds obtained

from wire fraud offenses subject to seizure in this district.

                                       APPLICABLE LAW

       7.       Based on the information set forth below, there is probable cause to believe the

funds held in the subject accounts contain proceeds of substantive violations of 18 U.S.C.




                                                  4
            Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 5 of 20

                                                                                       1:21-mj-1123 TMD


§ 1343 (wire fraud), and are, therefore, subject to civil forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(C).

       8.       Wire fraud is defined in 18 U.S.C. § 1343, which provides, “Whoever, having

devised or intending to devise any scheme or artifice to defraud, or for obtaining money or property

by means of false or fraudulent pretenses, representations, or promises, transmits or causes to be

transmitted by means of wire, radio, or television communication in interstate or foreign

commerce, any writings, signs, signals, pictures, or sounds for the purpose of executing such

scheme or artifice,” shall be guilty of a federal offense.

       9.       The Court's authority to order forfeiture of the proceeds of violations of 18 U.S.C.

§ 1343 is found in 18 U.S.C. § 981(a)(1)(C). Section 981(a)(1)(C) provides for the civil forfeiture

of any property, real or personal, which constitutes or is derived from proceeds from any offense

constituting “specified unlawful activity,” as defined in 18 U.S.C. § 1956(c)(7). A “specified

unlawful activity,” as defined in § 1956(c)(7)(D), includes offenses listed in 18 U.S.C. § 1961(1).

Specifically, 1961(1) includes violations of 18 U.S.C. § 1343.

       10.        Recognizing that money is fungible, 18 U.S.C. § 984 provides that, in a civil

forfeiture action against funds in an account in a financial institution, the United States need not

identify the specific funds involved in the criminal offense. Rather, “any identical property found

in the same account shall be subject to forfeiture,” so long as the action against the funds is

commenced within “1 year from the date of the offense.” 18 U.S.C. § 984. In other words, the

United States may forfeit any funds in an account, even if the funds currently in the account were

not involved in the relevant criminal activity, so long as the funds forfeited do not exceed the total

amount of dirty funds deposited into the account within the past year.




                                                  5
          Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 6 of 20

                                                                                        1:21-mj-1123 TMD


       11.     Pursuant to 18 U.S.C. § 981(b), property subject to civil forfeiture may be seized

via a civil seizure warrant issued by a judicial officer “in any district in which a forfeiture action

against the property may be filed,” and may be executed “in any district in which the property is

found,” if there is probable cause to believe that the property is subject to forfeiture.

                OVERVIEW OF UNEMPLOYMENT INSURANCE FRAUD

       12.     On March 27, 2020, the President signed into law the Coronavirus Aid, Relief, and

Economic Security (CARES) Act. This legislation provides emergency assistance and health care

response for individuals, families, and businesses affected by the COVID-19 pandemic.

       13.     The CARES Act was designed to mitigate the economic effects of the COVID-19

pandemic in a variety of ways. For example, the CARES Act includes a provision of temporary

benefits for individuals who have exhausted their entitlement to regular unemployment

compensation (UC), as well as coverage for individuals who are not eligible for regular UC, are

self-employed, or have limited recent work history. These individuals may also include certain gig

economy workers, clergy and those working for religious organizations who are not covered by

regular UC, and other workers who may not be covered by the regular UC program under some

state laws.

       14.     Section 2102 of the CARES Act created a new temporary federal program called

Pandemic Unemployment Assistance (PUA) that provides up to 39 weeks of unemployment

benefits and funding to states for the administration of the program.

       15.     The U.S. Department of Labor, Employment and Training Administration is the

federal agency that provides oversight of the Federal-State Unemployment Insurance Program.

The Federal-State Unemployment Insurance Program provides unemployment benefits to eligible

workers who are unemployed through no fault of their own as determined under state law and who



                                                   6
           Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 7 of 20

                                                                                          1:21-mj-1123 TMD


meet other state eligibility requirements. Unemployment Insurance (UI) payments, also known as

benefits, are intended to provide temporary financial assistance.

          16.   Eligibility for UI, benefit amounts, and the length of time benefits are available are

determined by the state law under which an unemployment insurance claim arises. In general,

benefits are based on a percentage of an individual’s earnings over a recent 52-week period up to

a state-established maximum amount. Benefits can be paid for a maximum of 26 weeks in most

states.

          17.   Each state has a different agency that oversees the UI program. For example, in the

State of Washington, which issued benefits to six accounts in this Affidavit, the Employment

Security Department (ESD) oversees the UI program. The ESD, or its counterpart agency in

another state, reviews the online application for UI. UI applicants for Washington benefits must

provide, among other things, the claimant’s name, date of birth, social security number, and the

reason why the claimant is unemployed.

          18.   The process to apply for UI benefits starts on the relevant state’s website. An

application is created and self-certified by the applicant. The applicant self-certifies that s/he meets

the eligibility criteria for the state. Eligibility criteria for UI vary from state to state. For example,

to be eligible for benefits in the State of Washington, the claimant:

                 i.   Must have been recently employed in the State of Washington in the past 12-

                      18 months for a minimum of 680 hours;

                ii. Must be currently unemployed;

                iii. Must be able and available to work; and

                iv. Must be actively seeking suitable full-time employment.




                                                    7
          Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 8 of 20

                                                                                         1:21-mj-1123 TMD


         19.    State UI agencies allow individuals to submit an online application for

unemployment benefits. For most state agencies, the application requires only a name and valid

corresponding social security number. The system allows the claimant to enter the banking

information where payments would be sent if the state approves the application and also allows a

name other than the claimant’s to be inserted as the designated beneficiary of the unemployment

funds.

         20.    The UI compensation funds are most often issued in the form of a direct deposit to

a designated bank account or pre-paid debit card account.

         21.    Approved claimants can also request continuous weekly benefits. To do so, in most

states, the claimant must self-certify online every week that s/he remains unemployed and eligible

to continue receiving UI benefits.

         22.    As outlined above, most state UI agencies do not require additional validation or

documentation to establish the identity of the claimant, or proof the claimant is eligible for benefits.

Many state UI agencies unknowingly issued millions of fraudulent UI benefit payments, including

Arizona, Colorado, Illinois, Kansas, Ohio, Texas, and Washington.

         23.    On or about May 22, 2020, USSS and the Department of the Treasury’s Financial

Crimes Enforcement Network (FinCEN)1 issued an alert to all financial institutions, including

M&T, stating that multiple state unemployment programs, to include Arizona, Colorado, Illinois,

Kansas, Louisiana, Ohio, Tennessee, Texas, and Washington State, had been compromised by

unknown individuals who had filed fraudulent applications for benefits and directed those funds

to bank accounts across the country. The alert included several fraud indicators to assist the

financial institutions in identifying fraudulent transactions, including:



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    FinCEN oversees and implements policies to prevent and detect money laundering.

                                                   8
          Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 9 of 20

                                                                                       1:21-mj-1123 TMD


                i. Account holder name and ACH “remit to” name do not match;

               ii. Account holder resides outside of the issuing state;

               iii. Multiple deposits into one account from the same issuing state;

               iv. Multiple deposits into one account from multiple issuing states; and

               v. Account holders attempt to quickly wire funds to foreign accounts.

        24.    The above fraud indicators are derived from the state UI programs’ rules of

eligibility. Even though each state has different eligibility criteria, the above fraud indicators

pertain to rules that are common throughout the UI programs. The eligibility criteria are stated on

each state’s application. If an account is flagged as fraudulent by a financial institution due to one

or more of the above fraud indicators, the case is referred to law enforcement to further assess

eligibility.

                                       PROBABLE CAUSE

        25.    Below are explanations of the UI fraud M&T identified in the accounts listed in

Attachment A. In all cases, rapid cash withdrawals and/or withdrawals using mobile payment

services (e.g. CashApp or Venmo) were made as soon as the UI money was deposited. All of the

accounts below received funds from a UI program where the account holder resides outside of the

issuing state. All of the accounts below received funds from a UI program where on the deposit,

the account holder name and ACH remit to name did not match. These two fraud indicators are

the basis for the law enforcement investigation into each account. Law enforcement checks were

performed to verify that the account holders did not work in the issuing state. Law enforcement

checks were performed to verify that the account holder is not related to or associated with the

ACH “remit to” names on the UI deposits. Based on the facts and my training and experience, I

conclude the UI funds in the following accounts were obtained fraudulently.



                                                  9
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 10 of 20

                                                                              1:21-mj-1123 TMD


a. M&T account number ending in 3970 has an account holder of A.B. whose address on

   file with the bank is in Maryland. This account received two UI ACH deposits from

   Arizona, each with a different “remit to” name, on June 30, 2020. A law enforcement

   database search yielded no results for a relationship between A.B. and either of the two

   “remit to” names listed on the two Arizona UI ACHs, and no evidence A.B. or the

   “remit to” persons ever worked in Arizona. Based on these facts and my training and

   experience, I conclude the UI funds in A.B.’s account were obtained based false or

   fraudulent statements on the UI online application because the applicant had to certify

   eligibility for the Unemployment Insurance program in Arizona, and none of the parties

   named in this transaction met the eligibility criteria.

b. M&T account number ending in 9056 has an account holder of C.R. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit from

   Arizona on June 8, 2020. A law enforcement database search yielded no results for a

   relationship between C.R. and the “remit to” name listed on the Arizona UI ACH, and

   no evidence C.R. or the “remit to” person ever worked in Arizona. Based on these facts

   and my training and experience, I conclude the UI funds in C.R.’s account were

   obtained based on false or fraudulent statements on the UI online application because

   the applicant had to certify eligibility for the Unemployment Insurance program in

   Arizona, and none of the parties named in this transaction met the eligibility criteria.

c. M&T account number ending in 5380 has an account holder of L.K. whose address on

   file with the bank is in Maryland. This account received two UI ACH deposits from

   Arizona on June 8, 2020, each with a different “remit to” name. A law enforcement

   database search yielded no results for a relationship between L.K. and either of the two



                                         10
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 11 of 20

                                                                             1:21-mj-1123 TMD


   “remit to” names listed on the two Arizona UI ACHs, and no evidence L.K. or the

   “remit to” persons ever worked in Arizona. Based on these facts and my training and

   experience, I conclude the UI funds in L.K.’s account were obtained based on false or

   fraudulent statements on the UI online application because the applicant had to certify

   eligibility for the Unemployment Insurance program in Arizona, and none of the parties

   named in this transaction met the eligibility criteria.

d. M&T account number ending in 5399 has an account holder of E.M.E. whose address

   on file with the bank is in Maryland. This account received an UI ACH deposit from

   Arizona on June 16, 2020. A law enforcement database search yielded no results for a

   relationship between E.M.E. and the “remit to” name listed on the Arizona UI ACH

   and no evidence E.M.E. or the “remit to” person ever worked in Arizona. Based on

   these facts and my training and experience, I conclude the UI funds in E.M.E.’s account

   were obtained based on false or fraudulent statements on the UI online application

   because the applicant had to certify eligibility for the Unemployment Insurance

   program in Arizona, and none of the parties named in this transaction met the eligibility

   criteria.

e. M&T account number ending in 3983 has an account holder of M.M. whose address

   on file with the bank is in Maryland. This account received an UI ACH deposit on

   August 25, 2020. A law enforcement database search yielded no results for a

   relationship between M.M. and the “remit to” name listed on the Arizona UI ACH and

   no evidence M.M. or the “remit to” person ever worked in Arizona. Based on these

   facts and my training and experience, I conclude the UI funds in M.M.’s account were

   obtained based on false or fraudulent statements on the UI online application because



                                         11
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 12 of 20

                                                                              1:21-mj-1123 TMD


   the applicant had to certify eligibility for the Unemployment Insurance program in

   Arizona, and none of the parties named in this transaction met the eligibility criteria.

f. M&T account number ending in 7737 has an account holder of J.A.D. whose address

   on file with the bank is in Maryland. This account received an UI ACH deposit on July

   21, 2020. A law enforcement database search yielded no results for a relationship

   between J.A.D. and the “remit to” name listed on the Arizona UI ACH and no evidence

   J.A.D. or the “remit to” person ever worked in Arizona. Based on these facts and my

   training and experience, I conclude the UI funds in J.A.D.’s account were obtained

   based on false or fraudulent statements on the UI online application because the

   applicant had to certify eligibility for the Unemployment Insurance program in

   Arizona, and none of the parties named in this transaction met the eligibility criteria.

g. M&T account number ending in 0696 has an account holder of E.N. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on June

   4, 2020. A law enforcement database search yielded no results for a relationship

   between E.N. and the “remit to” name listed on the Colorado UI ACH and no evidence

   E.N. or the “remit to” person ever worked in Colorado. Based on these facts and my

   training and experience, I conclude the UI funds in E.N.’s account were obtained based

   on false or fraudulent statements on the UI online application because the applicant had

   to certify eligibility for the Unemployment Insurance program in Colorado, and none

   of the parties named in this transaction met the eligibility criteria.

h. M&T account number ending in 8271 has an account holder of K.P. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on June

   4, 2020. A law enforcement database search yielded no results for a relationship



                                         12
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 13 of 20

                                                                            1:21-mj-1123 TMD


   between K.P. and the “remit to” name listed on the Colorado UI ACH and no evidence

   K.P. or the “remit to” person ever worked in Colorado. Based on these facts and my

   training and experience, I conclude the UI funds in K.P.’s account were obtained based

   on false or fraudulent statements on the UI online application because the applicant had

   to certify eligibility for the Unemployment Insurance program in Colorado, and none

   of the parties named in this transaction met the eligibility criteria.

i. M&T account number ending in 0265 has an account holder of B.B whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on August

   26, 2020. A law enforcement database search yielded no results for a relationship

   between B.B. and the “remit to” name listed on the Colorado UI ACH and no evidence

   B.B. or the “remit to” person ever worked in Colorado. Based on these facts and my

   training and experience, I conclude the UI funds in B.B.’s account were obtained based

   on false or fraudulent statements on the UI online application because the applicant had

   to certify eligibility for the Unemployment Insurance program in Colorado, and none

   of the parties named in this transaction met the eligibility criteria.

j. M&T account number ending in 8087 has an account holder of M.H. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on

   November 24, 2020. A law enforcement database search yielded no results for a

   relationship between M.H. and the “remit to” name listed on the Colorado UI ACH and

   no evidence M.H. or the “remit to” person ever worked in Colorado. Based on these

   facts and my training and experience, I conclude the UI funds in M.H.’s account were

   obtained based on false or fraudulent statements on the UI online application because




                                         13
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 14 of 20

                                                                               1:21-mj-1123 TMD


   the applicant had to certify eligibility for the Unemployment Insurance program in

   Colorado, and none of the parties named in this transaction met the eligibility criteria.

k. M&T account number ending in 1408 has an account holder of T.B. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on July 2,

   2020. A law enforcement database search yielded no results for a relationship between

   T.B. and the “remit to” name listed on the Illinois UI ACH and no evidence T.B. or the

   “remit to” person ever worked in Illinois. Based on these facts and my training and

   experience, I conclude the UI funds in T.B.’s account were obtained based on false or

   fraudulent statements on the UI online application because the applicant had to certify

   eligibility for the Unemployment Insurance program in Illinois, and none of the parties

   named in this transaction met the eligibility criteria.

l. M&T account number ending in 0744 has an account holder of K.M. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on January

   7, 2021. A law enforcement database search yielded no results for a relationship

   between K.M. and the “remit to” name listed on the Kansas UI ACH and no evidence

   K.M. or the “remit to” person ever worked in Kansas. Based on these facts and my

   training and experience, I conclude the UI funds in K.M.’s account were obtained based

   on the following false or fraudulent statements on the UI online application because the

   applicant had to certify eligibility for the Unemployment Insurance program in Kansas,

   and none of the parties named in this transaction met the eligibility criteria.

m. M&T account number ending in 8329 has an account holder of J.M. whose address on

   file with the bank is in Maryland. This account received three UI ACH deposits on

   October 7, 2020. A law enforcement database search yielded no results for a



                                         14
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 15 of 20

                                                                              1:21-mj-1123 TMD


   relationship between J.M. and any of the three “remit to” names listed on the Ohio UI

   ACHs and no evidence J.M. or the “remit to” persons ever worked in Ohio. Based on

   these facts and my training and experience, I conclude the UI funds in J.M.’s account

   were obtained based on false or fraudulent statements on the UI online application

   because the applicant had to certify eligibility for the Unemployment Insurance

   program in Ohio, and none of the parties named in this transaction met the eligibility

   criteria.

n. M&T account number ending in 0765 has an account holder of N.A. whose address on

   file with the bank is in Maryland. This account received two UI ACH deposits from

   Texas, each with a different “remit to” name, on September 9, 2020 and September 15,

   2020. A law enforcement database search yielded no results for a relationship between

   N.A. and either of the two “remit to” names listed on the Texas UI ACHs, and no

   evidence N.A. or the “remit to” persons ever worked in Texas. Based on these facts

   and my training and experience, I conclude the UI funds in N.A.’s account were

   obtained based on false or fraudulent statements on the UI online application because

   the applicant had to certify eligibility for the Unemployment Insurance program in

   Texas, and none of the parties named in this transaction met the eligibility criteria.

o. M&T account number ending in 8405 has an account holder of M.B. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on May

   12, 2020. A law enforcement database search yielded no results for a relationship

   between M.B. and the “remit to” name listed on the Washington State UI ACH and no

   evidence M.B. or the “remit to” person ever worked in Washington. Based on these

   facts and my training and experience, I conclude the UI funds in M.B.’s account were



                                        15
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 16 of 20

                                                                            1:21-mj-1123 TMD


   obtained based on false or fraudulent statements on the UI online application because

   the applicant had to certify eligibility for the Unemployment Insurance program in

   Washington, and none of the parties named in this transaction met the eligibility

   criteria.

p. M&T account number ending in 0012 has an account holder of S.C. whose address on

   file with the bank is in Maryland. This account received two UI ACH deposits on May

   12, 2020 and May 13, 2020. A law enforcement database search yielded no results for

   a relationship between S.C. and either of the two “remit to” names listed on the

   Washington State UI ACHs, and no evidence S.C. or the “remit to” persons ever

   worked in Washington. Based on these facts and my training and experience, I

   conclude the UI funds in S.C.’s account were obtained based on false or fraudulent

   statements on the UI online application because the applicant had to certify eligibility

   for the Unemployment Insurance program in Washington, and none of the parties

   named in this transaction met the eligibility criteria.

q. M&T account number ending in 8672 has an account holder of M.T. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on May

   7, 2020. A law enforcement database search yielded no results for a relationship

   between M.T. and the “remit to” name listed on the Washington State UI ACH and no

   evidence M.T. or the “remit to” person ever worked in Washington. Based on these

   facts and my training and experience, I conclude the UI funds in M.T.’s account were

   obtained based on false or fraudulent statements on the UI online application because

   the applicant had to certify eligibility for the Unemployment Insurance program in




                                         16
 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 17 of 20

                                                                          1:21-mj-1123 TMD


   Washington, and none of the parties named in this transaction met the eligibility

   criteria.

r. M&T account number ending in 8686 has an account holder of D.W. whose address on

   file with the bank is in Maryland. This account received an UI ACH deposit on May

   5, 2020. A law enforcement database search yielded no results for a relationship

   between D.W. and the “remit to” name listed on the Washington State UI ACH and no

   evidence D.W. or the “remit to” person ever worked in Washington. Based on these

   facts and my training and experience, I conclude the UI funds in D.W.’s account were

   obtained based on false or fraudulent statements on the UI online application because

   the applicant had to certify eligibility for the Unemployment Insurance program in

   Washington, and none of the parties named in this transaction met the eligibility

   criteria.

s. M&T account number ending in 3152 has an account holder of M.W. whose address

   on file with the bank is in Maryland. This account received an UI ACH deposit on May

   12, 2020. A law enforcement database search yielded no results for a relationship

   between M.W. and the “remit to” name listed on the Washington State UI ACH and no

   evidence M.W. or the “remit to” person ever worked in Washington. Based on these

   facts and my training and experience, I conclude the UI funds in M.W.’s account were

   obtained based on false or fraudulent statements on the UI online application because

   the applicant had to certify eligibility for the Unemployment Insurance program in

   Washington, and none of the parties named in this transaction met the eligibility

   criteria.




                                      17
        Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 18 of 20

                                                                                      1:21-mj-1123 TMD


                                         CONCLUSION

       26.      Based on the foregoing, I submit that there is probable cause to believe that the

funds held in the subject bank accounts are forfeitable pursuant to 18 U.S.C. § 981(a)(1)(C) as

derived from proceeds traceable to violations of 18 U.S.C. § 1343 (Wire Fraud).

       27.      Wherefore, it is hereby requested that Special Agents of the United States Secret

Service be authorized to seize, pursuant to 18 U.S.C. § 981(b), the funds in the accounts listed in

Attachment A.

                                                             _____________
                                                      ____________________________
                                                      Aljuann Carter
                                                      Special Agent
                                                      United States Secret Service

Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3)

        _ _____ day of April, 2021.
        __
this __________

                                       ____________________________
                                       The Honorable Thomas M. DiGirolamo
                                       United States Magistrate Judge




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StateofUI TotalDepositof Date(s)of    M&TAccount    M&TAccountHolder
                                                                                       AccountPrimaryAddress        "Remitto"Name(s)
  Benefit      UIBenefits      Deposit        Number               Name
                                                                                        16911DoctorMooreCrt        JonathanMclemore;
 Arizona        $5,736.00      06/30/20         17873970        ArthurBeckley
                                                                                             Poolesville,MD           ChelseaBroussard
                                                                                            3401BrooksAve
 Arizona        $7,038.00      06/08/20        201649056         CarlRobinson                                           CharlotteAgee
                                                                                             Abingdon,MD
                                                                                          18501OwlRunWay              KishaClark;
 Arizona       $14,778.00      06/08/20        9876275380        LaurentKala
                                                                                           Germantown,MD              WanquadoBrown
                                                                 EdgarMendez         2306GeorgianWayApt23
 Arizona        $9,120.00      06/16/20        9880125399                                                               WangelinSerena
                                                                  Encarnacion                 Wheaton,MD
                                                                                        3115BentonSquareDr
 Arizona        $5,520.00      08/25/20        9881673983        MoisesMejia                                             LarryVedas
                                                                                                Olney,MD
                                                                                               900YoungPl
 Arizona        $5,878.00      07/21/20        9881917737     JavierAlvarezDonis                                      CarmenMcGory
                                                                                              Frederick,MD
                                                                                     12401BrickyardBlvdApt1108
 Colorado       $2,469.00      06/04/20        9879730696      EmmanuelNgam                                             SheenaFoster
                                                                                              Beltsville,MD
                                                                                         13016ConductorWay
 Colorado       $4,949.00      06/04/20        9880198271        KathyPitman                                            SarahCannon
                                                                                           SilverSpring,MD
                                                                                            204VirginiaAve
 Colorado        $227.00       08/26/20      15004244110265       BruceBanks                                             DougBrush
                                                                                             Baltimore,MD
                                                                                           5234HesperusDr
 Colorado       $1,298.00      11/24/20        9881538087      MichaelHansford                                           TaraManion
                                                                                              Columbia,MD
                                                                                            4310PinefieldCt
  Illinois     $28,184.00      07/02/20        9882911408         TheoBishop                                              KimCortez
                                                                                           Randallstown,MD
                                                                                           88TarragonLane
  Kansas        $1,152.00      01/07/21        9874390744        KevinMoore                                             ScottHendrick
                                                                                             Edgewater,MD
                                                                                            7504ALangeSt            TenniaReid;Sharon
   Ohio         $3,288.00      10/07/20        9883008329       JosephMcGinley
                                                                                             Baltimore,MD           Southern;RayMckinney
                                                                                           4015SinclairLane           PamelaEslinger;
  Texas         $2,217.00      09/09/20        9883810765       NakyeyaAustin
                                                                                             Baltimore,MD                NancyDowd
                                                                                                                                                                 Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 19 of 20




                                                                                         55ManorDrApt201
Washington      $5,560.00      05/12/20        9864428405       MaryBedessem                                              TobyBond
                                                                                            Hagerstown,MD
                                5/12/20                                                    6501MaureenCt              MichaelRuhland;
Washington     $18,640.00                      9878710012      ShakeemCoburn
                                                                                                                                              1:21-mj-1123 TMD




                                5/13/20                                                       Cheverly,MD                DavidSwart



                                                                       1
                                                                      601PenningtonAveApt205
Washington   $5,984.00   05/07/20   9878838672   MalcolmTaylorJr                                   LinaAaf
                                                                          HavredeGrace,MD
                                                                          3314InglesideAve
Washington   $2,133.00   05/05/20   9878958686     DavidWhiters                                   ClairMcQueen
                                                                            Baltimore,MD
                                                                            502JuniperSt
Washington   $8,928.00   05/12/20   9880553152   MichaelWilloughby                                 PaulSaline
                                                                            Salisbury,MD
                                                                                                                                      Case 1:21-mj-01123-TMD Document 3 Filed 04/30/21 Page 20 of 20

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